Case 5:06-cr-50108-SMH-MLH   Document 106   Filed 03/07/07   Page 1 of 6 PageID #:
                                    268
Case 5:06-cr-50108-SMH-MLH   Document 106   Filed 03/07/07   Page 2 of 6 PageID #:
                                    269
Case 5:06-cr-50108-SMH-MLH   Document 106   Filed 03/07/07   Page 3 of 6 PageID #:
                                    270
Case 5:06-cr-50108-SMH-MLH   Document 106   Filed 03/07/07   Page 4 of 6 PageID #:
                                    271
Case 5:06-cr-50108-SMH-MLH   Document 106   Filed 03/07/07   Page 5 of 6 PageID #:
                                    272
Case 5:06-cr-50108-SMH-MLH   Document 106   Filed 03/07/07   Page 6 of 6 PageID #:
                                    273
